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             IN THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF ILLINOIS
                     SPRINGFIELD DIVISION

JANE DOE,                                    )
                                             )
                  Plaintiff,                 )
                                             )
     v.                                      )     Case No. 18-cv-03191
                                             )
RICHARD MACLEOD, et al.                      )
                                             )
                  Defendants.                )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendants Todd Sexton and Margaret

Burke’s (collectively, “Defendants”) Motion to Stay Judgment (d/e

256). For the following reasons, Defendants’ Motion (d/e 256) is

DENIED.

                               I.      BACKGROUND

     Plaintiff, a former inmate at Logan Correctional Center

(“Logan”), pursued claims arising from a series of alleged sexual

assaults by Defendant Richard Macleod between August 2016 and

February 2017 against Defendants Todd Sexton, Margaret Burke,

and Richard Macleod. Defendant Macleod was defaulted in this

matter. See d/e 12.
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     On September 25, 2023, after a five-day trial, the jury found

against Defendants and the Court entered judgment for Plaintiff on

her Eighth Amendment claim, awarding $8 million dollars in

compensatory damages and $11.3 million dollars in punitive

damages to Plaintiff. See d/e 224.

     Defendants ask the Court to stay execution of a judgment

without payment of bond. See d/e 256. Plaintiff opposes the stay.

See d/e 258.

                                II.   ANALYSIS

     Defendants seek a stay of the judgment in this matter pending

resolution of the post-trial motions and any subsequent appeals,

pursuant to Federal Rule of Civil Procedure 62(b).

     Federal Rule of Civil Procedure 62(b) states:

     At any time after judgment is entered, a party may obtain
     a stay by providing a bond or other security. The stay takes
     effect when the court approves the bond or other security
     and remains in effect for the time specified in the bond or
     other security.

Fed. R. Civ. P. 62(b).

     The Court declines to impose a stay. On March 7, 2024, the

Court entered an opinion and order denying Defendants’ post-trial

motion for a Renewed Motion for Judgment as a Matter of Law, or
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in the Alternative for a New Trial. See d/e 263. On March 28,

2024, the Court entered an opinion and order granting in part and

denying in part Plaintiff’s Motions for Attorney Fees (d/e 232, 233).

As a result, all post-trial motions have been resolved.

     However, even considering Defendants’ motion on its merits,

the Court declines to grant a stay. To determine whether

Defendants are entitled to a stay, the Court assesses: “(1) whether

[Defendants have] made a strong showing that [they are] likely to

succeed on the merits; (2) whether [Defendants] will be irreparably

injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceedings;

and (4) where the public interest lies.” Hilton v. Braunskill, 481

U.S. 770, 776 (1987). The Court finds that these factors weigh

against a stay in this case. As the Court has addressed in its order

and opinion denying Defendants’ post-trial motion for a Renewed

Motion for Judgment as a Matter of Law, or in the Alternative for a

New Trial, see d/e 263, the Court is not persuaded that Defendants

are likely to succeed on the merits. Moreover, this litigation has

extended over five years. It is within the public interest to resolve



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this case and require satisfaction of the judgment. Defendants’

motion is denied as to its request for a stay pending appeal.

     The Court further declines to waive the bond requirement for

Defendants. Defendants cite to Northern Indiana Public Service Co.

v. Carbon Cty. Coal Co. for the proposition that the Court has

discretion to grant a stay without a bond. d/e 256; 799 F.2d 265,

281 (7th Cir. 1986). The default rule is that a party is entitled to a

stay pending appeal only by posting an appropriate bond. See Fed.

R. Civ. P. 62(b); In re Carlson, 224 F.3d 716, 719 (7th Cir. 2000).

Waiver is appropriate “only if the appellant has a clearly

demonstrated ability to satisfy the judgment in the event the appeal

is unsuccessful and there is no other concern that the appellee’s

rights will be compromised by a failure adequately to secure the

judgment.” In re Carlson, 224 F.3d at 719.

     The Court finds Defendants’ argument that the State’s

indemnification is sufficient to waive the bond requirement

unpersuasive. See d/e 256, ¶ 4.


     Illinois law provides:

     Upon entry of a final judgment against the employee . . .
     such judgment . . . shall be certified for payment by such
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     chief administrative officer and by the Attorney General.
     The judgment . . . shall be paid from the State Treasury on
     the warrant of the Comptroller out of appropriations made
     to the Department of Central Management Services
     specifically designed for the payment of claims covered by
     this Section.

5 ILCS 350/2(e)(ii).

     Defendants have not demonstrated that the state has an

established fund to pay the type of judgment at issue.              See

Lightfoot v. Walker, 797 F.2d 505, 507 (7th Cir. 1985) (requiring

the State of Illinois to post a bond pending appeal because the

state did not have an established fund to pay the types of

judgments at issue and because payment required legislative

approval).

     Furthermore, the Court is concerned that granting a stay

without a bond would further contribute to Plaintiff’s harm

given the long duration of this matter as well as the personal,

traumatic nature of this case. The Court also refuses to stay

judgment against Defendant Macleod, who not only was

defaulted in this matter but has also failed to file any post-trial

motions or indicate that he will pursue an appeal. Therefore,




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the Court declines to waive the bond requirement for all

Defendants.

                           III.   CONCLUSION

     For the reasons stated, Defendants’ Motion to Stay Judgment

(d/e 256) is DENIED. The Court orders Defendants to pay the

award plus post-judgment interest in full, plus interest, pursuant to

735 ILCS 5/2-1303(a).



ENTERED: March 28, 2024.

FOR THE COURT:

                          /s/Sue E. Myerscough
                          SUE E. MYERSCOUGH
                          UNITED STATES DISTRICT JUDGE




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